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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-cv-00581-CNS-NRN

 Colorado Montana Wyoming
 State Area Conference of the NAACP,
 League of Women Voters of Colorado, and
 Mi Familia Vota,

          Plaintiffs,

 v.

 United States Election Integrity Plan, Shawn Smith,
 Ashley Epp, and Holly Kasun,

          Defendants.




                       PLAINTIFF MI FAMILIA VOTA’S RESPONSE
                  TO DEFENDANTS’ FIRST SET OF WRITTEN DISCOVERY


 TO:      Defendants above-names, and their attorneys of record, R. Scott Reisch, Jessica L. Hays,
          THE REISCH LAW FIRM, LLC, 1490 W. 121st Avenue, #202, Denver, CO 80234.

          Mi Familia Vota (”MFV”), for its Response to Defendants’ (“Defendants”) First

 Set of Written Discovery, states as follows:

                                    GENERAL OBJECTIONS

          MFV objects generally to Defendants’ Discovery Requests on each of the following

 grounds:




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          1.     MFV objects to Defendants’ Discovery Requests to the extent that they seek

 discovery of:

                 a.     Information or documents subject to the attorneyclient privilege, or to any
                        other privilege;

                 b.     Information or documents constituting the work product of MFV or its
                        attorneys;

                 c.     Information generated or documents prepared in anticipation of litigation
                        or for trial by or for MFV or its representatives.

          2.     MFV objects to Defendants’ Discovery Requests to the extent they seek discovery

 of any information or document which is not in the possession or control of MFV or which was

 not generated or obtained by MFV in the regular course of its business.

          3.     MFV objects to Defendants’ Discovery Requests insofar as they seek information

 which is not relevant or material to the issues of this lawsuit and which is not reasonably

 calculated to lead to the discovery of admissible evidence.

          4.     MFV objects to Defendants’ Discovery Requests insofar as they seek discovery of

 any information or document already in the possession, custody or control of the Defendants.

          5.     MFV objects to, and does not accept, the Defendants’ instructions. MFV will

 respond to Defendants’ Discovery Requests in accordance with, and as required by, the Federal

 Rules of Civil Procedure.

          6.     MFV objects to Defendants’ Discovery Requests to the extent they purport to

 impose obligations not imposed by the Federal Rules of Civil Procedure.




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          7.     MFV does not and will not waive any of its general or particular objections in the

 event it may furnish materials or information coming within the scope of any such objections.

          In addition to making the foregoing general objections, all of which are preserved, MFV

 responds to each of Defendants’ Discovery Requests particularly as follows:



                                      INTERROGATORIES

 INTERROGATORY NO. 1: Have You or anyone acting on your behalf interviewed any
 individual concerning the allegations of voter intimidation made in the Complaint filed in this
 case?
 If so, for each individual states:
          a) the name, address, email address, and telephone number of the individual
              interviewed;
          b) the date of the interview;
          c) the name, address, email address, and telephone number of the person(s) who
              conducted the interview.

          ANSWER:       MFV objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and work product doctrine.       MVF will identify any

 witnesses it intends to call at trial pursuant to the Federal Rules of Civil Procedure and any

 applicable scheduling order.



 INTERROGATORY NO. 2: Did you conduct any further investigation into the allegations
 outside of the articles and websites cited in Your pleadings. Provide a detailed description of all
 steps taken to corroborate these allegations including the names and contact information for any
 and all investigators utilized in the process of corroborating these serious allegations.

          ANSWER:       MFV objects to this Interrogatory as overly broad and unduly burdensome

 in seeking “all” steps taken to corroborate the allegations in the Complaint. MFV further objects


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 to this Interrogatory because the terms “investigation” and “investigator” are vague, ambiguous,

 and undefined. Finally, MFV objects to this Interrogatory because it seeks information that is

 subject to the attorney-client privilege and work product doctrine. Subject to and without

 waiving the foregoing objections, yes. Prior to commencing this action, Plaintiffs spoke with

 various witnesses and potential witnesses, including but not limited to members and supporters

 of their respective organizations who who were concerned about Defendants’ past and potential

 future actions.     Plaintiffs also reviewed Defendants’ public statements concerning USEIP’s

 activities, including but not limited to the County & Local Organizing Playbook and Defendants’

 statements on social media and at other events.

 INTERROGATORY NO. 3: Identify and provide a detailed description of all reports from voters
 that interacted with USEIP members, employees, or volunteers.

          ANSWER:        MFV objects to this Interrogatory as overly broad and unduly burdensome

 in seeking “all” reports. MFV further objects to this Interrogatory because the term “reports” is

 vague, ambiguous, and undefined.       MFV also objects to this Interrogatory because it seeks

 information with the possession and/or control of USEIP.         Finally, MFV objects to this

 Interrogatory because it seeks information protected by the attorney-client privilege and/or work

 product doctrine.       Subject to and without waiving the foregoing objections, MFV has not

 received any “reports” from voters that interacted with USEIP members, employees, or

 volunteers.




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 INTERROGATORY NO. 4: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a complaint related to any of the actions of
 any of the defendants in this case or their alleged employees, agents, or volunteers.

          ANSWER: MFV objects to this Interrogatory as overly broad and unduly burdensome

 in seeking information related to “every” person or entity. MFV also objects to this Interrogatory

 because the term “complaint” is vague, ambiguous, and undefined.         Subject to and without

 waiving the foregoing objections, see Answer to Interrogatory No. 3.



  INTERROGATORY NO. 5: Identify the name, address, telephone number, and email address of
 every person or entity from whom You have received a report of positive interactions related to
 any of the actions of any of the defendants in this case or their alleged agents.

          ANSWER: MFV objects to this Interrogatory because it seeks information that is subject

 to the attorney-client privilege and/or work product doctrine. Subject to and without waiving the

 foregoing objection, none.




 INTERROGATORY NO. 6: Identify and provide a detailed description of any and all instances
 where a voter has claimed that any alleged member of USEIP has done any of the following:
        a) Approached them or their home while armed;
        b) Represented that they are affiliated with a government entity (specify which
           government entity was claimed); or
        c) Threatened a voter with reprisal, criminal charges, or other consequences.

          ANSWER:       MFV objects to this Interrogatory as overly broad and unduly burdensome

 in seeking a description of “any and all” instances.     MFV also objects to this Interrogatory

 because the phrase “where a voter has claimed” is vague and ambiguous. Subject to and without

 waiving the foregoing objections, see Answer to Interrogatory No. 3.
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 INTERROGATORY NO. 7: Identify and provide a detailed description of any and all instances
 where USEIP or its agents have directed any person to carry a weapon during an interaction with
 a voter.

          ANSWER:      MFV objects to this Interrogatory as overly broad and unduly burdensome

 in seeking a description of “any and all” instances.     MFV also objects to this Interrogatory

 because it seeks information that is already within Defendants’ possession and/or control.




 INTERROGATORY NO. 8: Identify and describe in detail the activities You have undertaken to
 actively monitor the “intimidation and related safety concerns” described in Paragraph 36 of the
 Complaint in this action. Specifically address personnel and financial resources that have been
 shifted as a result of the activities of USEIP.

          ANSWER:       Due to USEIP’s door-to-door voter intimidation campaign, MVF has had

 to spend resources to redesign its phone and texting program to include training and information

 on voter intimidation, including but not limited to training and information about what to do if a

 voter feels intimidated and what voters’ rights are.    MFV also expects that its door-to-door

 campaign will be redesigned to include the same information.

 INTERROGATORY T NO. 9: Specifically identify the communities or neighborhoods that have
 been targeted by USEIP’s “operation” as claimed in Paragraph 27 of your Complaint.

          ANSWER:      MFV objects to this Interrogatory because it seeks information that is

 already in Defendants’ possession and/or control. Subject to and without waiving the foregoing

 objection, see documents produced by Jeff Young and the deposition testimony provided by Jeff

 Young.

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                     REQUEST FOR PRODUCTION OF DOCUMENTS

 REQUEST NO. 1: Any and all correspondence, internal or external, related to the activities of
 USEIP and their alleged employees, agents, or volunteers.

          RESPONSE: MFV objects to this Request as overly broad and unduly burdensome in

 seeking “any and all “ correspondence. MFV also objects to this Request to the extent it seeks

 communications protected by the attorney-client privilege. Subject to and without waiving the

 foregoing objection, MFV will produce responsive documents, subject to a protective order, at a

 time and place mutually agreeable to counsel.



 REQUEST NO. 2: Any and all emails, text messages, phone call logs, or other Documentation
 pertaining to communication between You and any and all persons or entities regarding the
 subject matter of this lawsuit.

          RESPONSE: MFV objects to this Request as overly broad and unduly burdensome in

 seeking “any and all” emails, text messages, phone call logs, or other Documentation pertaining

 to communication with “any and all” persons or entities. MFV also objects to this Request to the

 extent it seeks communications protected by the attorney-client privilege. Subject to and without

 waiving the foregoing objection, MFV will produce responsive documents, subject to a

 protective order, at a time and place mutually agreeable to counsel.


 REQUEST NO. 3: Any and all reports generated from complaints related to the activities of
 USEIP.

          RESPONSE: MFV objects to this Request as overly broad and unduly burdensome in

 seeking “any and all” reports. MFV also objects to this Request because the term “reports” is

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 vague, ambiguous, and undefined. Subject to and without waiving the foregoing objection, MFV

 will produce responsive documents, subject to a protective order, at a time and place mutually

 agreeable to counsel.




         I, Salvador Hernandez, declare under penalty of perjury that the foregoing answers to
 interrogatories is true and correct.

          10/20
 Dated: ________________, 2022.
                                                         Salvador Hernandez
 As to Objections Only:


 Dated: October 21, 2022                      LATHROP GPM LLP

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                                    ATTORNEYS FOR Plaintiffs Colorado Montana
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                                 CERTIFICATE OF SERVICE


        I hereby certify that on October 21, 2022, I electronically served the foregoing by
 emailing to the below mentioned persons at their last known email addresses as follows:

  Jessica Lynn Hays                  jessica@reischlawfirm.com
  R. Scott Reisch                    scott@reischlawfirm.com; cassandra@reischlawfirm.com;
                                     Matthew@reischlawfirm.com, Rob@reischlawfirm.com



                                              s/Amy Erickson




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